Case 2:04-cV-02580-Q_DB-STA Document 57 Filed 04/18/95 Page 1 of 2 Page|D 65

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WESTERN DISTRICT OF TENNESSEE 05 APR la PM u. U
WESTERN DIVISION

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W.D. OF TN, ML`MPH!S

 

PENNY NEWMAN GRAIN CO., JUI)GMENT IN A CIVIL CASE
A CALIFORNIA CORPORATION,

Plaintiff/Counterdefendant,
v.

THE COCHRAN C()RPORATION, CASE NO: 04~2580-B
A TENNESSEE CORPORATION,
Defendant/Counterclaimant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Consent Order Of
Dismissal With Prejudice And For Disbursement Of Funds On Deposit entered on March 16,
2005, this cause is hereby dismissed with prejudice.

 

 

 

 

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Date 14 Clerk of Court

  

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With Fiute 58 and/or 79(a) FHCP on 6/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
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April 19, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

